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1N Tna CIRCUIT COURT 0F LAFAYETTE. C.Ot)NTY. Mlss_ou 11 JAN _5 2018 §
ASSOClATE CtRCutT DlvlSlON §

ST_ATE OF MtS'S`OURt 1 c nr »111 itv_:; ;»\1/_\,\1 v l
PLAtNTlFF 1 '»/\ QY£L_: -_>-….`...,‘ , _ il

1 C.ASE NO. tnLP_£RtmtR-,tlt t

v` ) §
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naFaN DANT ) §

WAWER OF RlGl~iTS AND PL-EA O.F GUlLTY

 

The defendant appears in person and (without) (with) attomey__ Wg_r;en §, v ;
Mn;ktngitz Tlte` Court informs the defendant of the nature ot` the ot’t`_ense(s) to wit: '

The ranlge of punishment provided by lztw, and funlter, defendant 1s advised as follows: _
't`he Stat<:tras the burden of proving t.l_te defendant 15 guilty beyond a reasonale doubt l
2. Del'cndunt: has a right to trial by ]ury or judge to determine the deféndant.’ s guilt or innocence;
and a jury woittd have to be unanimous to find the doft`\ndm\t grilty.
3. Dc[`cndnnt has a ngltt to representation by 1111 attomcy, and that il` indigent (tmable to pay an
vtntomts__y) the Stntcwill provide a public dcf`utdor to rcprcsent defendant
Dct`cndant has the right to cross~ examine wimcsscs against him:
Dcfcndant has the right to ask the court to subpoena (cotnpel) the witness to- appear for the
defendth
6, vDefenc,lant has thc right to remain silent and not to make an statements which may be used 111
the prosecution t)f the criminal cliaxgt:st ft led against the dcfet)dant;.
7 . Defendant has the right to appeal the conn s judgment (declsion) or the jury ’s verdict should
the defendant exercise the right to trial and by l`ound guilty;
8. Thot given the nature ol` the offensc-, there ts a likelihood tpossibilt\y) that the judge witt
smic_noc the defendant to a jail lerm;
9. Dofcndtt`nt has been advised and nndcrst:ands recommendations by the prosecuting attorney or
law enforcement officials arc not binding on t.ltcjudge and thai any such recommendations
may or may not be accepts by the judgc.

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l TILE UNDbRSlGNED DEFEND!\N l` HEREBY /\CKNOWL[~I)GE l`ltAI` I UNDERSTANI) THE
ABGVE lNPORMA1tON AND T`llA] l FREELY, lN'l`E t l.l()l§ N'J`LY AND VOLUN'|`ARILY WAIVF.
MY RlGHTS TO AN ATTORNEY (UNLBSS DEFENDANT APPEARS W[TH ATI'ORNEY) _RlG[-l'l`
T() TRlAL AND MY OTllER RIGH'I'S MENTIONED »\BOVE AND THATI ENFFRA PLEA 0 F NO
C()NTEST

 

l AM NOT UNDER THLINFLUENCE OF A].,COH.OL, DRUGS OR- MENTAl. DEFEC`T AND l HAVE
N_OT RECEIVED M_lSTKEATMENT ()R THREATS FROM ANY()NE TO GET ME T() ENTER THIS
}’_LllA OF GUTLTY

lllAVE RECl;`lVEl) NO PROM)SES Ol A LlGH"l F. R SENT FNCE, OR t’ROB'\"llON_ OR ANY
'(")'l HER lORM OF LENII .NCY IF l PLE AD GU[LTY.

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~ DAT~E: r1 2/27/201 11

 

 

 

Witncss by Judge or Clerk (unless Dcfcndant /'itttimey t'or Dcfcndnnt
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Case 4:16-cv-01086-ODS Document31-2 Filed 05/11/18

